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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF DELAWARE

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In re:                                                               :   Chapter 11
                                                                     :
ESSAR STEEL MINNESOTA LLC and                                        :   Case No. 16-11626 (BLS)
ESML HOLDINGS INC. 1                                                 :
                                                                     :   (Jointly Administered)
        Reorganized Debtors.                                         :
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MESABI METALLICS COMPANY LLC (F/K/A                                  :
ESSAR STEEL MINNESOTA LLC),                                          :   Adv. Proc. No. 17-51210 (BLS)
                                                                     :
         Plaintiff and Appellant,                                    :
                                                                     :
                       v.                                            :
                                                                     :
CLEVELAND-CLIFFS INC. (F/K/A CLIFFS                                  :
NATURAL RESOURCES, INC.); CLEVELAND- :
CLIFFS MINNESOTA LAND DEVELOPMENT                                    :
LLC; GLACIER PARK IRON ORE PROPERTIES :
LLC; and DOES 1-10,                                                  :
                                                                     :
         Defendants and Appellees.                                   :
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GLACIER PART IRON ORE PROPERTIES LLC, :
                                                                     :
         Counterclaim-Plaintiff and Appellee,                        :
                                                                     :
                     v.                                              :
                                                                     :
MESABI METALLICS COMPANY LLC,                                        :
                                                                     :
         Counterclaim-Defendant and Appellant.                       :
------------------------------------------------------------------ :
CLEVELAND-CLIFFS, INC., et al.,                                      :   Appeal from the United States
                                                                     :   Bankruptcy Court for the District of
        Counterclaim-Plaintiffs and Appellees,                       :   Delaware
                                                                     :
                     v.                                              :   Civil Action No. 18-mc-00261-LPS
                                                                     :
MESABI METALLICS COMPANY LLC, et al.,                                :
                                                                     :
          Counterclaim-Defendants and Appellants.                    :
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1        Essar Steel Minnesota LLC has changed its name to Mesabi Metallics Company LLC.


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            JOINDER OF GLACIER PARK IRON ORE PROPERTIES LLC
            TO OBJECTION OF CLIFFS DEFENDANTS TO APPELLANT’S
             MOTION FOR LEAVE TO FILE INTERLOCUTORY APPEAL


       Glacier Park Iron Ore Properties LLC, a defendant and appellee in this action (“GPIOP”)

joins in the Response in Opposition defendants and appellees Cleveland-Cliffs Inc. and

Cleveland-Cliffs Minnesota Land Development LLC (the “Cliffs Objection”) [Dkt. 5] to

Appellant’s Motion for Leave to File Interlocutory Appeal of Bankruptcy Court’s Order

Granting Appellees’ Motions for Partial Summary Judgment and Denying Appellants’ Cross

Motion for Partial Summary Judgment (the “Mesabi Motion”) [Dkt. 1]. For the reasons stated in

the Cliffs Objection, GPIOP also believes the Mesabi Motion does not meet the applicable legal

standards to be granted leave by this Court to pursue an interlocutory appeal. GPIOP

respectfully requests that the Mesabi Motion be denied.


September 12, 2018                          ASHBY & GEDDES, P.A.

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                                            Properties, LLC



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